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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      DECLARATION OF ASHLEY T.
PALO ALTO, et al.,                    HARRINGTON (RMIAN) IN SUPPORT
              Plaintiffs,             OF PLAINTIFFS’ MOTION FOR A
                                      TEMPORARY RESTRAINING ORDER
     v.                               AND PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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                  DECLARATION OF ASHLEY T. HARRINGTON
             CHILDREN’S PROGRAM MANAGING ATTORNEY FOR THE
             ROCKY MOUNTAIN IMMIGRANT ADVOCACY NETWORK


I, Ashley T. Harrington make the following statements on behalf of the Rocky Mountain
Immigrant Advocacy Network. I certify under penalty of perjury that the following statement is
true and correct pursuant to 28 U.S.C. § 1746.
   1. My name is Ashley T. Harrington, and I am the Children’s Program Managing Attorney at
      the Rocky Mountain Immigrant Advocacy Network (“RMIAN”). RMIAN is a Colorado-
      based nonprofit organization that provides free immigration legal and social services to
      individuals in civil immigration detention, as well as to immigrant children and families.
      Through its staff attorneys, paralegals, social workers, and a network of hundreds of pro
      bono attorneys, RMIAN provides legal education and free legal representation to low-
      income immigrants who otherwise would not be able to afford an attorney.
   2. RMIAN’s primary programs are 1) the Detention Program which provides free legal
      services to individuals in civil detention; 2) the Children’s Program which provides free
      legal services to children and families in immigration proceedings; and 3) the Social
      Service project which provides comprehensive supportive services to particularly
      vulnerable individuals, children and families.
   3. RMIAN is the primary organization dedicated to providing legal services to indigent
      unaccompanied immigrant children in Colorado. Specifically, RMIAN provides free legal
      representation to unaccompanied children who have been released from the Office of
      Refugee Resettlement (“ORR”) to sponsors, to unaccompanied children who have been
      placed in the Unaccompanied Refugee Minors program, and to unaccompanied children in
      ORR Long-Term Foster Care. RMIAN previously also provided free legal services to
      children in ORR short-term shelters in Colorado.
   4. RMIAN has been providing legal services for unaccompanied immigrant children in
      Colorado through U.S. Department of Health and Human Services (HHS) funding since
      the first ORR short-term shelter opened in Colorado in 2019. RMIAN provided know-
      your-rights presentations, individual legal screenings, legal representation and referrals to
      hundreds of youth in ORR custody in Colorado from December 2019 through May 2023
      when the shelters closed.
   5. RMIAN has continued providing representation to unaccompanied children who were
      released from ORR custody—both from the shelters in Colorado as well as shelters all over
      the country. With HHS funding, RMIAN is currently representing 160 unaccompanied
      children, including unaccompanied children released to individual sponsors and children
      released into the Unaccompanied Refugee Minor Program. In addition, RMIAN recently


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   expanded its services to provide representation to children in the ORR Long-Term Foster
   Care program placed in Colorado.
6. With HHS funding, RMIAN currently employs approximately six full-time-equivalent
   staff dedicated to providing legal services to unaccompanied immigrant children. This
   includes a managing attorney, staff attorneys, a law clerk, coordinators, a paralegal, and an
   administrative assistant.
7. RMIAN represents unaccompanied children in removal proceedings in immigration court
   and in humanitarian relief applications before U.S. Citizenship and Immigration Services,
   including asylum, Special Immigrant Juvenile Status, U and T nonimmigrant status,
   adjustment of status to lawful permanent residency, and applications for employment
   authorization. In addition, RMIAN staff attorneys and pro bono partners represent children
   in state court proceedings, including guardianship, allocation of parental responsibilities
   and child welfare proceedings.
8. RMIAN has initiated representation with unaccompanied children as young as two years
   up to those on the eve of their eighteenth birthday. None of these children are fluent in
   English or have received higher education. These children’s cases require navigating a
   complicated maze of laws and legal processes necessary to secure lawful status and defend
   from deportation. Most require analysis of both state and federal laws and require
   simultaneous applications and motions before the immigration court, a State court and U.S.
   Citizenship and Immigration Services. Each of these forums have specific, detailed
   procedures that must be followed to ensure cases don’t result in rejection or denial.
   Children’s legal cases often take several years to ultimately result in lawful permanent
   residency, requiring constant monitoring and regular required filings during the lengthy
   process. It would be virtually impossible for a child to successfully navigate all the
   requirements to avoid deportation and successfully obtain lawful status without an attorney.
9. The unaccompanied children RMIAN represents have often been through complex and
   significant trauma. Many of RMIAN’s child clients have been subjected to sex and labor
   trafficking, child abuse, neglect and abandonment, sexual abuse and other violence. Many
   of the applications for legal protection require detailed declarations and interviews
   regarding the trauma and abuse these children have endured—something that would be
   incredibly difficult to endure without a trauma-informed attorney’s assistance.
10. RMIAN’s services are not only beneficial to the children in removal proceedings, but also
    to immigration judges, court staff and government attorneys. RMIAN has built strong
    relationships with Denver’s immigration judges and staff as well as attorneys for the
    Immigration and Customs Enforcement Office of the Principal Legal Advisor (OPLA).
    RMIAN routinely meets with immigration judges and staff along with OPLA to discuss
    how to improve services and efficiency. RMIAN has worked jointly with OPLA to request
    and obtain dismissal of removal proceedings for dozens of unaccompanied children

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   pursuing relief applications with U.S. Citizenship and Immigration Services, thereby
   preserving the court and OPLA’s time and resources for cases ripe for resolution by the
   court. In addition, when a RMIAN attorney enters their appearance with the immigration
   court, typically the next hearing is cancelled and written deadlines are provided, thereby
   saving the court’s limited time for other cases. RMIAN routinely receives requests from
   immigration court staff and judges to assist unaccompanied children and families with
   anything from a change of address form to a screening for potential human trafficking.
   RMIAN ensures that children are fully informed of their rights and options and, wherever
   possible, that they have expert legal representation to navigate the immigration legal
   system more efficiently and effectively. Without RMIAN, removal proceedings would take
   far longer and the dockets would be clogged with cases that are not even under the court’s
   jurisdiction while a child is pursuing legal status with U.S. Citizenship and Immigration
   Services. Immigration judges and court staff regularly express gratitude for the ways in
   which RMIAN’s services assist the court.
11. Without warning, on February 18, 2025, HHS (through the U.S. Department of the Interior)
    issued a national contract stop work order for Legal Services for Unaccompanied Children,
    effective immediately, which extended to all five Contract Line Numbers (CLINs). Without
    further elaboration on duration or reasoning, the stop work order stated that it “shall remain
    in place until you are notified otherwise” and “is being implemented due to causes outside
    of your control and should not be misconstrued as an indication for poor performance.”
    HHS then later rescinded the stop work order without explanation on February 21, 2025.

12. On March 21, 2025, also without warning, we learned that HHS (through the U.S.
    Department of the Interior) partially terminated the current contract with Acacia Center for
    Justice (to which our organization is a subcontractor) that funds legal services for
    unaccompanied children. This termination was effective the same day, March 21,
    2025.HHS terminated the contract with respect to 3 of the 4 Contract Line Numbers
    (CLINs): CLIN 2, Legal representation for unaccompanied children, as well as other non-
    representation services, such as referrals and data tracking; CLIN 3, which funds
    Immigrant Justice Corps fellows and Randstad placements who represent unaccompanied
    children not covered under CLIN 2; and CLIN 4, Spanish language tutoring for
    organizational staff who work with children. For the time being, HHS has left in place only
    CLIN1, which funds KYR presentations and confidential legal consultations for pro se
    children in ORR facilities. Per the partial termination, HHS ordered Acacia and all
    subcontractors to stop work immediately on CLINs 2, 3, and 4. HHS provided no
    justification for the partial termination other than “the Government’s convenience.”
13. RMIAN received news of both the stop work order and the notice of contract termination
    from the Acacia Center for Justice via email. RMIAN staff had to immediately pivot from



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   providing representation to children to informing all staff of the stop work order and
   contract termination and planning for its impact on RMIAN’s services and funding.
14. Funding from HHS for unaccompanied children’s legal services comprises approximately
    15% of RMIAN’s total annual budget and 26% of its Children’s Program Budget—
    approximately $772,000 this year. Because there are currently no ORR shelters in
    Colorado, RMIAN does not receive any funding for CLIN1 services to children in ORR
    custody. Thus, the partial contract termination serves as a complete termination of all
    funding for RMIAN’s work under the contract.
15. HHS funding currently allows RMIAN to employ approximately six full-time-equivalent
    staff positions, including attorneys, a law clerk, coordinators, a paralegal and an
    administrative assistant. It remains uncertain whether staff and client cases could be shifted
    to other funding sources. RMIAN would need to pull from its reserves and limited
    unrestricted funds to continue paying staff and providing representation to unaccompanied
    children. This would only be possible on a temporary basis until layoffs would need to be
    considered.
16. When news of the stop work order broke, RMIAN received panicked calls from children,
    their caregivers, foster care providers, and case managers worried that the stop work order
    meant that RMIAN would no longer provide representation. Similar panic ensued
    following the news of the contract termination. Instead of focusing on preparing children’s
    legal applications, RMIAN staff had to respond to countless calls and inquiries about how
    the stop work order and contract termination would impact its child clients. While RMIAN
    has been able to provide temporary reassurance that children will continue to be
    represented using RMIAN’s reserves and limited unrestricted funding, its staff will be
    unable to provide such assurances long-term.
17. RMIAN firmly believes that no child should be forced to navigate immigration legal
    proceedings alone, and that every child deserves to have an attorney to inform them of their
    rights and options and to represent them in any defenses they may qualify for under the
    law. In reliance on the government’s consistent funding, RMIAN has been steadily building
    its Children’s Program to be able to increase how many children it is able to serve each
    year. RMIAN hopes to continue expanding programming and staffing so that more
    unaccompanied children in Colorado have access to expert legal representation. However,
    without HHS funding, not only will RMIAN not be able to provide representation to any
    additional children, but the ability to provide continued representation to current child
    clients is also under threat.
18. RMIAN has relied upon the government’s consistent funding of legal services for
    unaccompanied children in building its Children’s Program, and in crafting the
    representational agreements RMIAN has executed with child clients. In reliance on the
    government’s consistent funding consistent with congressional appropriations, the

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   TVPRA, the Foundational Rule, and in accordance with RMIAN’s subcontract with
   Acacia, RMIAN’s representation agreements with most unaccompanied children include a
   commitment to continue representation through obtaining asylum, U/T nonimmigrant
   status, or permanent residency, if they are eligible for this relief under U.S. law. For most
   of RMIAN’s clients, this means that it has promised to continue representation for several
   years due to extreme delays and backlogs in processing and adjudications of these relief
   applications.
19. RMIAN has legally and ethically binding obligations to its clients to continue providing
    representation despite this halt in funding. Ethical rules require attorneys to continue
    representation to the conclusion of the matters undertaken on behalf of clients. Withdrawal
    may only be permitted under ethical rules if withdrawal would not be materially adverse
    to the client’s case. Withdrawal from children’s cases would be materially adverse because
    they cannot competently represent themselves in matters before the immigration court, the
    state court, or before USCIS, they could not afford private counsel to represent them, and
    withdrawal would more than likely lead to their cases being denied—resulting in their
    removal.
20. RMIAN is committed to continuing to represent its child clients despite this termination of
    funding. However, it will have to pull from limited reserves and unrestricted funding to do
    so, and may have to consider staff layoffs. Ultimately, if significant layoffs become
    necessary, despite the significant detrimental impact on clients, RMIAN may need to
    consider withdrawing from clients’ cases if it does not have sufficient staff to continue
    representation.
21. RMIAN will have to dedicate its limited staff time to fundraising to try to raise the funds
    necessary to continue providing representation, with no guarantee of success. This diverts
    limited time and resources away from providing representation. It also diverts limited
    funding for representation of other clients as well as funding that allows for staff leave and
    benefits, staff wellness initiatives, and necessary organizational infrastructure. The stop
    work order caused great distress among staff, but was short-lived. The termination of
    funding has significantly impacted staff morale and caused staff stress and concern about
    whether they will continue to have a job and be able to provide for themselves and their
    families. Even if layoffs don’t become immediately necessary, this worry may cause staff
    to leave RMIAN for employment that is more securely funded. This would leave RMIAN
    short-staffed and place more of the burden to continue representation on fewer staff, and
    would increase the likelihood RMIAN would have to consider withdrawal from clients’
    cases.
22. Any interruption, reduction or termination in HHS funding significantly harms RMIAN
    and its mission to provide legal representation to unaccompanied children.



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I declare under penalty of perjury that the foregoing is true and correct.
Executed on the 22nd day of March 2025, in Westminster, Colorado.


_______________________________
Ashley T. Harrington, Esq.




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